                         COURT MINUTES OF CONFERENCE


CANDY LAB INC.,

         v.                                                           CASE NO. 17-CV-569-JPS

MILWAUKEE COUNTY, MILWAUKEE COUNTY
BOARD OF SUPERVISORS, and MILWAUKEE
COUNTY DEPARTMENT OF PARKS, RECREATION,
AND CULTURE.



                          HON. J. P. STADTMUELLER PRESIDING

DATE: June 2, 2017                                              TIME SCHEDULED: 9:00 a.m.

COURT DEPUTY/CLERK: Christopher Bader                           TIME CALLED: 9:01 a.m.

COURT REPORTER: Heidi Trapp                                     TIME FINISHED: 9:10 a.m.

PURPOSE: Scheduling Conference

PLAINTIFF BY: Brian Wassom

DEFENDANTS BY: Charles Bohl

Notes:

9:01 a.m. Case called; appearances
9:01 Court provides parties with relevant deadlines, which are as follows: jury trial to being on
Monday, April 16, 2018 at 8:30 a.m.; final pretrial conference to be held on April 10, 2018 at 8:30 a.m.;
final pretrial report due on April 5, 2018; motions in limine due on April 2, 2018; interim settlement
reports due on December 22, 2017 and March 26, 2018; and dispositive motions due on January 3, 2018
9:04 The Court explains that to the extent the parties believe that mediation may be appropriate, the
parties may jointly request referral to a magistrate judge. The parties are advised that it generally takes
30–45 days to schedule a mediation
9:04 Court comments upon Plaintiff’s pending request for a hearing in connection with its motion for
preliminary injunction, including requirement that parties complete all required discovery before a
hearing and certify the same; Court notes that it will address Defendants’ pending motion to dismiss
as soon as possible once the relevant briefing has been completed
9:06 Plaintiff has nothing further to address; Defendants note that the relevant ordinance underlying
this case will likely be revised, which may lead to expeditious resolution of the matter; Court comments
9:10 Court stands in recess




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